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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 20-06506-SK Date April 27, 2021

Title Wayne Leonard Jones v. Andrew M. Saul

 

 

Present: The Honorable Steve Kim, United States Magistrate Judge

 

 

Connie Chung n/a
Deputy Clerk Court Smart / Recorder
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None present None present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE: SANCTIONS

Plaintiff's counsel, Suzanne Leidner, is ordered to show cause in writing by no later than
May 18, 2021 why sanctions--including involuntary dismissal for failure to prosecute--
should not be imposed for Plaintiff's failure to comply with the deadlines in the Court's
scheduling order. This order may be discharged upon the filing of either a notice of
substitution of retained counsel for Plaintiff on Form G-01 or a sworn declaration by Ms.
Leidner attesting that settlement proposals have been exchanged in writing with government
counsel, as ordered. Ms. Leidner must also serve a copy of this order on Plaintiff by certified
mail immediately and then file a proof of that service with the Court by no later than May 18,
2021. All other deadlines are stayed pending Ms. Leidner's response to this order. Failure to
comply with this order may result in involuntary dismissal without further notice, as well as
monetary sanctions against Plaintiff's counsel personally.

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